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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:19-cv-02871-SKC

ETHEL SUSANNE HALTER,

                      Plaintiff,

v.

WELD COUNTY SHERIFF’S OFFICE,
DOES 1 – X INFINATE,
ROES 1 – X INFINATE,

                      Defendant(s).



       DEFENDANT’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
                   PLAINTIFF’S AMENDED COMPLAINT


       Defendant Weld County Sheriff’s Office, by and through undersigned counsel, Cathy

Havener Greer and Katherine M.L. Pratt of Wells, Anderson & Race, LLC, hereby files its Motion

For Extension of Time to Respond to Plaintiff’s Amended Complaint, and states as follows:

       1.      CERTIFICATE OF CONFERRAL PURSUANT TO D.C.COLO.LCivR 7.1(a):

Counsel for the Defendant attempted to confer with the pro se Plaintiff regarding the relief sought

by this Motion via email. Undersigned counsel did not receive a response prior to filing.

       2.      Plaintiff commenced this action in the District Court, Weld County, on September

6, 2019. (See ECF. No. 2). Plaintiff filed an Amended Complaint in the state court action on

September 17, 2019. (See ECF. No. 3). Defendant Weld County Sheriff’s Office received a copy

of both the Complaint and Amended Complaint on September 17, 2019. (See Ex. C to Notice of

Removal—ECF. No. 1, Aff. of Donald Patch).
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       3.      Defendant timely filed its Notice of Removal (ECF No. 1) on October 8, 2019,

removing this case to the United States District Court for the District of Colorado. As such,

Defendant’s Answer or other responsive pleading to Plaintiff’s Amended Complaint is currently

due on or before October 15, 2019. See Fed. R. Civ. P. 81(c).

       4.      However, due to undersigned counsel’s commitments and obligations as defense-

counsel at a 7-day jury-trial in another division of this Court, Estate of Walter v. Board of County

Commr’s of the County of Fremont, et. al., USDC Civil Action No. 1:16-cv-0629-WJM-STV, and

related activities, undersigned counsel needs additional time to review and analyze the matters

presented in this case and prepare a responsive pleading to Plaintiff’s Amended Complaint. As

such, Defendant respectfully requests a 14-day extension of the responsive pleading deadline,

which is currently set for October 15, 2019.

       5.      This is the first extension of time sought and is not sought for purposes of delay.

Further, the case is in its very early stages and the brief extension will not prejudice any party or

the Court.

       WHEREFORE, Defendant Weld County Sheriff’s Office respectfully requests that this

Court grant an extension of time to file its Answer or other responsive pleading to Plaintiff’s

Amended Complaint up to and including Tuesday, October 29, 2019, and for such other relief as

this Court deems just and proper.
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     Respectfully submitted this 11th day of October, 2019.



                                              WELLS, ANDERSON & RACE, LLC


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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of October, 2019, a true and correct copy of the
foregoing DEFENDANT’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
PLAINTIFF’S AMENDED COMPLAINT with exhibits referenced therein, was electronically
filed with the Clerk of Court using the CM/ECF system, and sent to the Plaintiff via U.S. Mail at
the address listed below:

  Ethel Susanne Halter
  7200 E. State Highway 14 Lot 5
  Fort Collins, CO 80524
  Email: suehalter@gmail.com
  Pro se Plaintiff


                                            S/Barbara McCall
                                            Barbara McCall
                                            Email: bmccall@warllc.com
